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                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

SAMUEL BURNINGHAM,                                     Case No. 2:17-cv-00767-DAK

                    Plaintiff,
                                                                      DEFAULT JUDGMENT
v.

ART CITY COFFEE,                                       Assigned to Honorable Dale A. Kimball

                   Defendant.


        This Matter, having come before the Court on Plaintiff’s Motion for Default Judgment,

and good cause appearing therefrom,

        Upon Application by Plaintiff, and good cause shown, the Court enters Judgment as

follows:

1. Plaintiff is granted injunctive relief including:

2. Defendant is ORDERED to undertake a full ADA inspection, by an accredited expert ADA

     inspector, within 60 days of signature of this Order to discover and cure any and all

     architectural barriers that may exist in Defendant's Place of public accommodation.

3. Defendant is ORDERED to remediate any and all barriers that are discovered through

     inspection that would affect Plaintiff or any similarly situated individuals.

4. Defendant is ORDERED to remediate all architectural barriers that have heretofore been

     discovered, including:

        a) Failure to provide an unobstructed high forward reach to the towel dispenser no
           greater than 48 inches (1220 mm) above the ground as required by 36 C.F.R Part
           1191 Appendix D, Guideline 308.1 et seq.;
        b) Failure to provide operable parts of bathroom door hardware that are operable with
           one hand and do not require tight grasping, pinching, or twisting of the wrist with no
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          more than 5 pounds of operable force as required by 36 CFR § 1191 App. D
          Guideline 309.4, Guideline 404.2.7.
5. Defendant shall have 180 days to complete remediation.

6. Defendant is ORDERED to undergo a policies and procedures review within 60 days of the

   signature of this Order. The policies and procedures review shall be conducted by an

   accredited expert in ADA policies and procedures, who will review Defendant's policies and

   procedures to ensure that:

7. Consistent with the principles and guidelines in 36 C.F.R Part 1191 Appendix D, Defendant

   shall develop and adopt, within 60 days, policies and procedures that will prevent future

   architectural barriers from developing.

8. Consistent with the principles and guidelines in 36 C.F.R Part 1191 Appendix D, Defendant

   has or shall develop and adopt, within 60 days, policies and procedures that require routine

   and regular expert inspection of Defendant's place of public accommodation to ensure

   continued compliance with the ADA.

9. Consistent with the principles and guidelines in 36 C.F.R Part 1191 Appendix D, Defendant

   has or shall undertake routine and regular expert inspection of Defendant's place of public

   accommodation to ensure continued compliance with the ADA.

10. Consistent with the principles and guidelines in 36 C.F.R Part 1191 Appendix D, Defendant

   shall develop and adopt, within 60 days, policies and procedures that will cause Defendant to

   cure any architectural barrier, that violate of the ADA, that arises.

11. Consistent with the principles and guidelines in 36 C.F.R Part 1191 Appendix D, Defendant

   shall develop and adopt, within 60 days, policies and procedures to accommodate Plaintiff

   and any similarly situated individuals, where remediation of an architectural barrier, violative

   of the ADA, is not readily achievable.
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12. Consistent with the principles and guidelines in 36 C.F.R Part 1191 Appendix D, Defendant

   shall develop and adopt, within 60 days, policies and procedures that will cause Defendant to

   accommodate Plaintiff and any similarly situated individuals,

13. Defendant is permanently enjoined from violating of the ADA with respect to accessibility

   requirements affecting Plaintiff or any similarly situated individual.

14. Plaintiff is awarded his costs and a reasonable attorney fee and is instructed to submit an

   affidavit of attorney's fees and costs.

       a. Attorney’s Fees in the amount of $3,375.00; and

       b. Costs and expenses in the amount of $475.00; and

15. All Judgment amounts are subject to the legal interest rate from the date of Judgment until

   paid.

16. Defendant to bear all costs associated with fulfilment of this Order.

17. Plaintiff has a federally protected right to the full and equal enjoyment of the goods, services,

   facilities, privileges, advantages, or accommodations of Defendant’s PPA, whether alleged in

   this Complaint or subsequently discovered; and

18. A declaration that at the commencement of this Action that Defendant was in violation of the

   specific requirements of the ADA described above; and

19. Irrespective of Defendant’s “voluntary cessation,” if applicable, a preliminary and permanent

   injunction requiring Defendant to remove all barriers so that Plaintiff shall have the full and

   equal enjoyment of the goods, services, facilities, privileges, advantages, or accommodations

   of Defendant’s PPA; and
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20. Defendant is ORDERED to alter its PPA that is the subject of this Complaint to make the

   PPA accessible to and usable by individuals with disabilities to the full extent required by the

   ADA; and

       IT IS FURTHER ORDERED; that Plaintiff shall serve this Judgment on Defendant

forthwith.

       SO ORDERED this 9th day of January, 2019.


                                             BY THE COURT:



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                                             ________________   ____________
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                                                                             ____
                                             HONORABLE DA   DALE
                                                              ALE A  A. KIMBALL
                                             United States District Court Judge
